                                                      ORDER
                   UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE Motion Granted
                        NASHVILLE DIVISION            s/Sean F. Cox
                                                      U. S. District Judge
UNITED STATES OF AMERICA      )                       Sitting by Special Designation
                              )                       Dated: August 1, 2017
                              )
      v.                      )     No. 3:14-cr-00200
                              )     Chief Judge Sharp
                              )
QUINTON LEAVELL               )

               MOTION FOR LEAVE TO JOIN RALPHAEL LEAVELL’S
              MOTION TO DISMISS INDICTMENT, DOCKET ENTRY #202

        The defendant, Quinton Leavell, through his counsel, respectfully requests leave of

Court to join in Ralphael Leavell’s Motion to Dismiss Indictment, Docket Entry # 202.

Defendant Quinton Leavell seeks to adopt the Motion to Dismiss and supporting memorandum

of law as his own.

        In support thereof, defendant says that the granting of this motion for leave of Court to

join in the Motion to Dismiss Indictment will not detract from the ability of the Court to move

this case forward to trial on its current timetable.

        WHEREFORE, Quinton Leavell respectfully requests Leave of Court to join in Ralphael

Leavell’s Motion to Dismiss Indictment.

                                                Respectfully submitted,

                                                s/ William I. Shockley
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                                                m leave 2 join M to Dismiss




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 Case 3:14-cr-00200          Document 211           Filed 08/01/17            Page 1 of 1 PageID #: 482
